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 8
                                UNITED STATES DISTRICT COURT
 9
                               CENTRAL DISTRICT OF CALIFORNIA
10
11      Antonio Fernandez,                      Case No.
12                Plaintiff,
                                                Complaint For Damages And
13        v.                                    Injunctive Relief For Violations
14      Tay Tu Ly;                              Of: Americans With Disabilities
        Mui Loc Sen;                            Act; Unruh Civil Rights Act
15
        Minhpan Corporation, a
16      California Corporation
17                Defendants.
18
19          Plaintiff Antonio Fernandez complains of Tay Tu Ly; Mui Loc Sen;
20    Minhpan Corporation, a California Corporation; and alleges as follows:
21
22      PARTIES:
23      1. Plaintiff is a California resident with physical disabilities. He is
24    paralyzed from the waist down and uses a wheelchair for mobility.
25      2. Defendants Tay Tu Ly and Mui Loc Sen owned the real property located
26    at or about 8843 Santa Fe Springs Rd., Whittier, California, in February 2022.
27      3. Defendants Tay Tu Ly and Mui Loc Sen own the real property located at
28    or about 8843 Santa Fe Springs Rd., Whittier, California, currently.


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 1      4. Defendant Minhpan Corporation owned Helen’s Market located at or
 2    about 8843 Santa Fe Springs Rd., Whittier, California, in February 2022.
 3      5. Defendant Minhpan Corporation owns Helen’s Market (“Market”)
 4    located at or about 8843 Santa Fe Springs Rd., Whittier, California, currently.
 5      6. Plaintiff does not know the true names of Defendants, their business
 6    capacities, their ownership connection to the property and business, or their
 7    relative responsibilities in causing the access violations herein complained of,
 8    and alleges a joint venture and common enterprise by all such Defendants.
 9    Plaintiff is informed and believes that each of the Defendants herein is
10    responsible in some capacity for the events herein alleged, or is a necessary
11    party for obtaining appropriate relief. Plaintiff will seek leave to amend when
12    the true names, capacities, connections, and responsibilities of the Defendants
13    are ascertained.
14
15      JURISDICTION & VENUE:
16      7. The Court has subject matter jurisdiction over the action pursuant to 28
17    U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
18    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
19      8. Pursuant to supplemental jurisdiction, an attendant and related cause
20    of action, arising from the same nucleus of operative facts and arising out of
21    the same transactions, is also brought under California’s Unruh Civil Rights
22    Act, which act expressly incorporates the Americans with Disabilities Act.
23      9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
24    founded on the fact that the real property which is the subject of this action is
25    located in this district and that Plaintiff's cause of action arose in this district.
26
27      FACTUAL ALLEGATIONS:
28      10. Plaintiff went to the Market in February 2022 with the intention to avail


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 1    himself of its goods or services motivated in part to determine if the
 2    defendants comply with the disability access laws.
 3      11. The Market is a facility open to the public, a place of public
 4    accommodation, and a business establishment.
 5      12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
 6    to provide wheelchair accessible paths of travel in conformance with the ADA
 7    Standards as it relates to wheelchair users like the plaintiff.
 8      13. The Market provides paths of travel to its customers but fails to provide
 9    wheelchair accessible paths of travel in conformance with the ADA Standards.
10      14. A problem that plaintiff encountered was that the paths of travel at the
11    entrance and inside the Market narrowed to less than 36 inches in width.
12      15. Plaintiff believes that there are other features of the paths of travel that
13    likely fail to comply with the ADA Standards and seeks to have fully compliant
14    paths of travel for wheelchair users.
15      16. On information and belief, the defendants currently fail to provide
16    wheelchair accessible paths of travel.
17      17. Additionally, on the date of the plaintiff’s visit, the defendants failed to
18    provide wheelchair accessible parking in conformance with the ADA
19    Standards as it relates to wheelchair users like the plaintiff.
20      18. The Market provides parking to its customers but fails to provide
21    wheelchair accessible parking in conformance with the ADA Standards.
22      19. One problem that plaintiff encountered was that the van parking stall
23    and access aisle marked and reserved for persons with disabilities had slopes
24    that exceeded 2.1%. What is more, the standard parking space for persons
25    with disabilities had cracks in the access aisle. Additionally, there was no pole-
26    mounted ADA signage in front of the standard parking space.
27      20. Plaintiff believes that there are other features of the parking that likely
28    fail to comply with the ADA Standards and seeks to have fully compliant


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 1    parking for wheelchair users.
 2      21. On information and belief, the defendants currently fail to provide
 3    wheelchair accessible parking.
 4      22. Moreover, on the date of the plaintiff’s visit, the defendants failed to
 5    provide wheelchair accessible sales counters in conformance with the ADA
 6    Standards as it relates to wheelchair users like the plaintiff.
 7      23. The Market provides sales counters to its customers but fails to provide
 8    wheelchair accessible sales counters in conformance with the ADA Standards.
 9      24. The problem that plaintiff encountered was that the sales counter was
10    too high. There was no counter that was 36 inches or less in height that plaintiff
11    could use for his transactions.
12      25. Plaintiff believes that there are other features of the sales counters that
13    likely fail to comply with the ADA Standards and seeks to have fully compliant
14    sales counters for wheelchair users.
15      26. On information and belief, the defendants currently fail to provide
16    wheelchair accessible sales counters.
17      27. The failure to provide accessible facilities created difficulty and
18    discomfort for the Plaintiff.
19      28. These barriers relate to and impact the plaintiff’s disability. Plaintiff
20    personally encountered these barriers.
21      29. As a wheelchair user, the plaintiff benefits from and is entitled to use
22    wheelchair accessible facilities. By failing to provide accessible facilities, the
23    defendants denied the plaintiff full and equal access.
24      30. The defendants have failed to maintain in working and useable
25    conditions those features required to provide ready access to persons with
26    disabilities.
27      31. The barriers identified above are easily removed without much
28    difficulty or expense. They are the types of barriers identified by the


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 1    Department of Justice as presumably readily achievable to remove and, in fact,
 2    these barriers are readily achievable to remove. Moreover, there are numerous
 3    alternative accommodations that could be made to provide a greater level of
 4    access if complete removal were not achievable.
 5      32. Plaintiff will return to the Market to avail himself of its goods and to
 6    determine compliance with the disability access laws once it is represented to
 7    him that the Market and its facilities are accessible. Plaintiff is currently
 8    deterred from doing so because of his knowledge of the existing barriers and
 9    his uncertainty about the existence of yet other barriers on the site. If the
10    barriers are not removed, the plaintiff will face unlawful and discriminatory
11    barriers again.
12      33. Given the obvious and blatant nature of the barriers and violations
13    alleged herein, the plaintiff alleges, on information and belief, that there are
14    other violations and barriers on the site that relate to his disability. Plaintiff will
15    amend the complaint, to provide proper notice regarding the scope of this
16    lawsuit, once he conducts a site inspection. However, please be on notice that
17    the plaintiff seeks to have all barriers related to his disability remedied. See
18    Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
19    encounters one barrier at a site, he can sue to have all barriers that relate to his
20    disability removed regardless of whether he personally encountered them).
21
22    I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
23    WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
24    Defendants.) (42 U.S.C. section 12101, et seq.)
25      34. Plaintiff re-pleads and incorporates by reference, as if fully set forth
26    again herein, the allegations contained in all prior paragraphs of this
27    complaint.
28      35. Under the ADA, it is an act of discrimination to fail to ensure that the


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 1    privileges, advantages, accommodations, facilities, goods and services of any
 2    place of public accommodation is offered on a full and equal basis by anyone
 3    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
 4    § 12182(a). Discrimination is defined, inter alia, as follows:
 5             a. A failure to make reasonable modifications in policies, practices,
 6                 or procedures, when such modifications are necessary to afford
 7                 goods,    services,    facilities,   privileges,    advantages,   or
 8                 accommodations to individuals with disabilities, unless the
 9                 accommodation would work a fundamental alteration of those
10                 services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
11             b. A failure to remove architectural barriers where such removal is
12                 readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
13                 defined by reference to the ADA Standards.
14             c. A failure to make alterations in such a manner that, to the
15                 maximum extent feasible, the altered portions of the facility are
16                 readily accessible to and usable by individuals with disabilities,
17                 including individuals who use wheelchairs or to ensure that, to the
18                 maximum extent feasible, the path of travel to the altered area and
19                 the bathrooms, telephones, and drinking fountains serving the
20                 altered area, are readily accessible to and usable by individuals
21                 with disabilities. 42 U.S.C. § 12183(a)(2).
22      36. When a business provides paths of travel, it must provide accessible
23    paths of travel.
24      37. Here, accessible paths of travel have not been provided in conformance
25    with the ADA Standards.
26      38. When a business provides parking, it must provide accessible parking.
27      39. Here, accessible parking has not been provided in conformance with the
28    ADA Standards.


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 1      40. When a business provides sales counters, it must provide accessible
 2    sales counters.
 3      41. Here, accessible sales counters have not been provided in conformance
 4    with the ADA Standards.
 5      42. The Safe Harbor provisions of the 2010 Standards are not applicable
 6    here because the conditions challenged in this lawsuit do not comply with the
 7    1991 Standards.
 8      43. A public accommodation must maintain in operable working condition
 9    those features of its facilities and equipment that are required to be readily
10    accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
11      44. Here, the failure to ensure that the accessible facilities were available
12    and ready to be used by the plaintiff is a violation of the law.
13
14    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
15    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
16    Code § 51-53.)
17      45. Plaintiff repleads and incorporates by reference, as if fully set forth
18    again herein, the allegations contained in all prior paragraphs of this
19    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
20    that persons with disabilities are entitled to full and equal accommodations,
21    advantages, facilities, privileges, or services in all business establishment of
22    every kind whatsoever within the jurisdiction of the State of California. Cal.
23    Civ. Code §51(b).
24      46. The Unruh Act provides that a violation of the ADA is a violation of the
25    Unruh Act. Cal. Civ. Code, § 51(f).
26      47. Defendants’ acts and omissions, as herein alleged, have violated the
27    Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
28    rights to full and equal use of the accommodations, advantages, facilities,


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 1    privileges, or services offered.
 2       48. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
 3    discomfort or embarrassment for the plaintiff, the defendants are also each
 4    responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
 5    (c).)
 6
 7              PRAYER:
 8              Wherefore, Plaintiff prays that this Court award damages and provide
 9    relief as follows:
10            1. For injunctive relief, compelling Defendants to comply with the
11    Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
12    plaintiff is not invoking section 55 of the California Civil Code and is not
13    seeking injunctive relief under the Disabled Persons Act at all.
14            2. For equitable nominal damages for violation of the ADA. See
15    Uzuegbunam v. Preczewski, --- U.S. ---, 2021 WL 850106 (U.S. Mar. 8, 2021)
16    and any other equitable relief the Court sees fit to grant.
17            3. Damages under the Unruh Civil Rights Act, which provides for actual
18    damages and a statutory minimum of $4,000 for each offense.
19            4. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
20    to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
21
      Dated: March 30, 2022                      CENTER FOR DISABILITY ACCESS
22
23
                                                 By: ______________________
24
                                                        Amanda Seabock, Esq.
25                                                      Attorney for plaintiff
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